        Case 2:20-cv-00302-SCJ Document 322-1 Filed 11/20/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
FAIR FIGHT, INC., ET AL.                       )
                           Plaintiff(s)        )
                                               )      Case No. 2:20-CV-0302-SCJ
                V.                             )
                                               )
______________________________,
TRUE THE VOTE, INC., ET AL                     )
                           Defendant(s)        )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
remotely electronically available to the public without redaction after 90 calendar days.

       Any counsel or party needing a copy of the transcript to review for redaction purposes
may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                 ______________
                 11/20/23                 __________________________________
                                          Shannon R. Welch, RMR, CRR
                        Date                           Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              BENCH TRIAL
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              10/30/23
                              ______________________________________________
       Volume Number:         ______________________________________________
                              VOL 3 PM
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): UZOMA NKWONTA, MICHAEL WYNNE, DANA PAIKOWSKY

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 11/20/23                 __________________________________
                                          Shannon R. Welch, RMR, CRR

                        Date                            Court Reporter
